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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF ARKANSAS
                                      CENTRAL DIVISION
JUSTIN BURNS                                                                                      PETITIONER
ADC #146885

VS.                                     4:20-CV-00781-JM-JTR

DEXTER PAYNE, Director,
Arkansas Division of Correction                                                                 RESPONDENT

                                                    ORDER

        The Court has reviewed the Recommended Disposition submitted by United States

Magistrate Judge J. Thomas Ray. No objections have been filed, though Mr. Burns did file a

Motion for Permission to File a Motion for Writ Error Coram Nobis (Doc. No. 4). 1 After careful

review, the Recommended Disposition is approved and adopted in its entirety as this Court’s

findings in all respects.

        IT IS THEREFORE ORDERED THAT:

        1.       All claims asserted in the 28 U.S.C. § 2254 Petition for a Writ of Habeas Corpus,

Doc. 1, are DISMISSED, WITHOUT PREJUDICE;

        2.       The Motion for Permission to File a Motion for Writ Error Coram Nobis (doc. No.

4) is DENIED; and

        3.       The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3) that an in forma pauperis

appeal of this Order and accompanying Judgment would not be taken in good faith.

        DATED this 5th day of October, 2020.



                                                             ___________________________________
                                                             UNITED STATES DISTRICT JUDGE


1
  He may have intended to file this document with the Supreme Court of Arkansas, as that is the court the motion is
addressed to.
